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U.S. Department of Justice                                                                                  PROCESS RECEIPT AND RETURN
United States Marshals Service                                                                            See "Insiriiclioiix lor Service ol'Proeexx by U.S. Marshal"

 PLAINTIFF                                                                                                                 COURT CASE NUMBER
 FedEx Supply Chain Logistics & Electronics, Inc.                                                                           2:22-cv-02684
 DEFENDANT                                                                                                                 TYPE OF PROCESS
 James Goodman                                                                                                              Writ of Execution/Bank Levy
                           NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
        SERVE          1 Bank of America
           AT          B ADDRESS (Street or RFD, Apartment No., City, Stale and ZIP Code)
                       v 3945 Park Ave., Memphis, TN 38111
 SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                        Number of process to be
                                                                                                                           served with this Form 285
“Danny Van Horn, Attorney for FedEx
 6075 Poplar Ave., Ste. 500                                                                                                Number of parties to be
 Memphis, TN 38119                                                                                                         served in this case
 (901) 680-7331 danny.vanhorn@butlersnow.com                                                                               Check for service                       K.
                                                                                                                           on rrcA
                                                                                                                              U.S.A.                               NO
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Availablefor Service):
 The account holder's name is James Goodman, 103 Tomahawk Trail, San Antonio, TX 78232. We understand him to have
 Account No. 026009593 with Bank of America. There are multiple Bank of America locations in Memphis. The one listed
 above on Park Ave. (901) 320-5500 as well as one located at 4750 Summer Ave., Memphis, TN 38122 (901) 684-6710 and one
  located at 4350 Elvis Presley Blvd., Memphis, TN 38116 (901) 348-5700.


Signature of Attorney other Originator requesting service on behalf of:          , ,                      TELEPHONE NUMBER                      DATE
                          /\                                                      E PLAINTIFF                                                           I          <
                                                                                 □ defendant               901-680-7331                              /O/skjA’*
                       SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total    Total Process       District of     District to    Signature of Authorized USMS Deputy or Clerk                      Date
number of process indicated,                               Origin          Serve
(Sign only for USM 285 ifmore
                                                           No.             No.
than one USM 285 is submitted)
I hereby certify and retum that I | | have personally served , O have legal evidence of service, O have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.
 2] 1 hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (if not shown above)                                                                   Date                 Time                     am
                                                                                                                                                                         pm

Address (complete only different than shown above)                                                                         Signature of U.S Marshal or Deputy




                                                                    Costs shown on attached I SMS (list Sheet»
REMARKS




                                                                                                                                                                Form USM-285
                                                                                                                                                                    Rev. 03/21
